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13    Counsel for Plaintiff and Proposed Class
14

15                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
16                              EASTERN DIVISION
17    VANESSA CAMACHO,                           Case No. 5:20-CV-00980-JGB-KK
      individually and on behalf of all
18    others similarly situated,                 NOTICE OF DISMISSAL WITH
                                                 PREJUDICE
19              Plaintiff,
                                                 Hon. Jesus G. Bernal
20    vs.
21    ROUTE FOUR, LLC d/b/a
      HYDROPONICS, INC.,
22
                Defendant.
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                             NOTICE OF DISMISSAL WITH PREJUDICE
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 1
            Plaintiff, Vanessa Camacho, pursuant to Federal Rule of Civil Procedure
 2

 3    41(a)(1)(A)(i), does hereby dismiss this action as follows:

 4          1.     All claims of the Plaintiff, Vanessa Camacho, individually, are hereby
 5
      dismissed with prejudice.
 6

 7          2.     All claims of any unnamed member of the alleged class are hereby

 8    dismissed without prejudice.
 9

10
      Dated: August 5, 2021                  Respectfully submitted,

11
                                             /s/ Scott Edelsberg
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24
                                             Counsel for Plaintiff and the Proposed
25
                                             Class
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                           NOTICE OF DISMISSAL WITH PREJUDICE
     Case 5:20-cv-00980-JGB-KK Document 57 Filed 08/05/21 Page 3 of 3 Page ID #:545




 1
                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on August 5, 2021, I electronically filed the foregoing
 3    document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
      document is being served this day on all counsel identified below via transmission
 4    of Notices of Electronic Filing generated by CM/ECF or in some other authorized
 5    manner.

 6    Respectfully submitted,
 7

 8                                          /s/ Scott Edelsberg
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                           NOTICE OF DISMISSAL WITH PREJUDICE
